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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )
                                          ) Criminal No. 22-cr-15 (APM)
ELMER STEWART RHODES, III, et al.,        )
                                          )
      Defendants.                         )
_________________________________________ )

                      ORDER ON TERMS OF SUPERVISED RELEASE

                                                    I.

        In the fall of 2022 and winter of 2023, two juries convicted the following nine Defendants

of various crimes relating to the events of January 6, 2021: Stewart Rhodes, Kelly Meggs, Kenneth

Harrelson, Thomas Caldwell, Jessica Watkins, Roberto Minuta, Edward Vallejo, David Moerschel,

and Joesph Hackett. Each Defendant was a member of, or affiliated with, a militia group known

as the Oath Keepers. All but one (Caldwell) were found guilty of seditious conspiracy or

conspiracy to prevent members of Congress from discharging their duties. The court sentenced

Defendants to various terms of incarceration, ranging from time served (Caldwell) to 18 years in

prison (Rhodes). All except Caldwell received a period of supervised release to follow their term

of incarceration.

        On January 20, 2025, President Trump commuted the sentences of these nine Defendants,

alongside pardoning over 1,000 others convicted of January 6-related offenses. According to the

“Proclamation” issued by the President, he “commute[d] the sentences” of Defendants “to time

served as of January 20, 2025.” 1 Defendants then in custody were immediately released.


1
  Granting Pardons And Commutation Of Sentences For Certain Offenses Relating To The Events At Or Near The
United States Capitol On January 6, 2021 (Jan. 20, 2025), https://www.whitehouse.gov/presidential-
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          Afterwards, all relevant actors proceeded as if the commutations addressed only the

custodial portions of Defendants’ sentences but not their terms of supervised release.

U.S. Probation Offices began supervising Defendants, defense counsel moved to change

conditions of release, the U.S. Department of Justice responded to the modification requests, and

the court granted the motions without opposition from the prosecution. 2 Defendant Rhodes

publicly declared that he would “report to [his] probation officer.” 3

          On January 24, 2025, the court issued an Order amending Defendants’ conditions of release

(except Caldwell’s, who has none) to add two location restrictions. Order, ECF No. 940.

The Order provided that Defendants must stay away from (1) the District of Columbia and

(2) the U.S. Capitol and its surrounding grounds, absent permission from the court. Id. The court

did not impose the location restrictions when sentencing Defendants, because at that time it was

not the practice of the local Probation Office to recommend them as special conditions of release.

That practice later changed, and the judges of this Court began requiring January 6 defendants to

stay away from the District and the U.S. Capitol. 4 Soon after the President’s Proclamation, this

court consulted with the Probation Office about imposing the stay-away conditions and, after

receiving confirmation they were appropriate, issued the Order on the morning of January 24,

2025. 5



actions/2025/01/granting-pardons-and-commutation-of-sentences-for-certain-offenses-relating-to-the-events-at-or-
near-the-united-states-capitol-on-january-6-2021/ (last visited Jan. 26, 2025).
2
  See, e.g., Def. Minuta’s Mot. to Modify Terms & Conditions of Supervised Release, ECF No. 936; Def. Vallejo’s
Consent Mot. to Modify Conditions of Supervised Release, ECF No. 937.
3
   Associated Press, Oath Keeper Stewart Rhodes thanks Trump for pardon (Jan. 21, 2025) (available at
https://newsroom.ap.org/editorial-photos-videos/detail?itemid=748d698a8eed42a8bf27bf3026916033) (last visited
Jan. 26, 2025).
4
  See, e.g., Jon Levine, Federal judges allow Jan. 6 rioters to return to Capitol for Trump inauguration, N.Y. Post (Jan.
18, 2025) (available at https://nypost.com/2025/01/18/us-news/federal-judges-allow-jan-6-rioters-to-return-to-
capitol-for-trump-inauguration/) (last visited Jan. 26, 2025).
5
  The court waited until the morning of January 24 to issue the Order and made it effective as of noon on that day,
because the court was aware that Mr. Rhodes was present in the District of Columbia and that the Probation Office
had ordered him to report to the federal courthouse in Greenbelt, Maryland, by noon to receive release instructions.


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       Hours later, the U.S. Department of Justice, through the Acting U.S. Attorney for the

District of Columbia, moved to vacate the Order and “dismiss” Defendants’ terms of supervised

release. See United States’ Mot. to Dismiss Terms of Supervised Release & Probation Pursuant to

Executive Order, ECF No. 941 [hereinafter U.S. Mot.]. The Department argues that Defendants

“are no longer subject to the terms of supervised release and probation” following President

Trump’s commutation of their “sentences.” Id. at 1. According to the Department, the term

“sentence” is broadly construed to include both custodial and non-custodial components. Id. Thus,

when President Trump commuted Defendants’ “sentences,” his action rendered their terms of

supervised release “no longer active.” Id. The motion concludes not with a request for relief, but

with an “indicat[ion] that the Order must be vacated.” Id. at 2.

                                                II.

                                                A.

       Article II of the Constitution vests in the President the power to grant pardons and the

adjacent authority to commute sentences to lesser punishments. See Schick v. Reed, 419 U.S. 256,

265–66 (1927). “Executive clemency exists to afford relief from undue harshness or evident

mistake in the operation or enforcement of the criminal law.” Ex parte Grossman, 267 U.S. 87,

120–21 (1925). “It is a check entrusted to the executive for special cases.” Id. at 121.

       The President’s clemency powers are broad, and the Constitution places few limitations on

them. “So long as the President does not use the power to pardon to violate another provision of

the Constitution, Congress and the Judiciary have no power to interfere with its exercise.” Andrews

v. Warden, 958 F.3d 1072, 1076 (11th Cir. 2020) (citing Schick, 419 U.S. at 264, 266–67);

accord Yelvington v. Presidential Pardon & Parole Att’ys, 211 F.2d 642, 644 (D.C. Cir. 1954)

(observing that the pardon power should be “free of judicial control”); Rosemond v. Hudgins,




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92 F.4th 518, 525 (4th Cir. 2024) (“The President’s authority to grant clemency is ‘unlimited,’ save

for the limits imposed by the Constitution[.]” (quoting Ex parte Garland, 71 U.S. (4 Wall.) 333,

380 (1866))); United States v. Libby, 495 F. Supp. 2d 49, 54 (D.D.C. 2007) (recognizing that the

only limitation on the President’s authority to place conditions on a sentence commutation is that

it does not “offend the Constitution” (citing Schick, 419 U.S. at 267)).

       While a pardon “generally negate[s] the effects of [an] underlying conviction,”

“a ‘commutation’ leaves the conviction in place and lessens the sentence in some way.”

Rosemond, 92 F.4th at 525 n.5 (citing Schick, 419 U.S. at 266). The commutation does not,

however, create an “executive sentence.” Andrews, 958 F.3d at 1077 (quoting Dennis v. Terris,

927 F.3d 955, 959 (6th Cir. 2019)). Rather, “a prisoner who receives a presidential commutation

continues to be bound by a judicial sentence. The commutation changes only how the sentence is

carried out by switching out a greater punishment for a lesser one.” Dennis, 927 F.3d at 958

(citations omitted); see also United States v. Benz, 282 U.S. 304, 311 (1931) (A commutation

“abridges the enforcement of the judgment, but does not alter it qua judgment.”).

       The effect of a presidential commutation is illustrated in Dennis. There, the defendant

received a mandatory life sentence following his third conviction for a drug-trafficking offense.

Dennis, 927 F.3d at 957. President Obama commuted his sentence to a 30-year term of prison. Id.

The defendant nevertheless pursued a habeas petition, arguing that one of his underlying

convictions did not qualify as a drug-trafficking offense and therefore at most he was subject to a

20-year mandatory penalty, instead of his now-commuted sentence of 30 years. Id. The district

court dismissed the habeas petition as moot, but the Sixth Circuit found otherwise. Id. at 959–60.

It ruled that, notwithstanding the commutation, the judicial power remained to reduce the

underlying sentence if unlawfully imposed. Id. As the court put it: “Dennis now will serve at




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most 30 years in prison, not life. But for now he still serves a judicial life sentence, the execution

of which the President’s act of grace has softened. The original judicial sentence remains intact.”

Id. at 960 (emphasis in original). 6

         Applying the foregoing principles here means that Defendants’ original sentences,

including their terms of supervised release, “remain[] intact.” President Trump’s commutation

does not alter the court’s (and the juries’) judgments; it affects only their execution. See Andrews,

958 F.3d at 1077 (“[T]he Executive commutes the sentence that it executes.”). “Dismiss[ing]”

their supervised release terms therefore is not appropriate. See U.S. Mot. at 1.

                                                           B.

         The question remains whether the Executive Branch must carry out the judicially imposed

periods of supervision.          The answer turns on the text of President Trump’s Proclamation.

See Andrews, 958 F.3d at 1078 (“The text of President Obama’s commutation order governs our

review.”).

         The court has found no decision from the D.C. Circuit addressing how courts should

interpret a presidential act of clemency. The Eleventh Circuit in Andrews has offered guidance,

which this court finds persuasive. In that case, the court observed that the “Supreme Court has

ruled that deference should be accorded to an executive agency’s interpretation of an executive

order it is charged with administering.” 958 F.3d at 1078 (citations omitted). It found it “sensible”

to extend that principle to an executive agency’s interpretation of a commutation order, so long as


6
  The court recognizes that there is not an absolute division of labor between the Executive and the Judiciary in the
enforcement of terms of supervised release. U.S. Probation and Pretrial Services falls under the auspices of the judicial
branch, and its role includes post-conviction supervision. Probation officers honorably occupy the front line, ensuring
that the courts’ conditions of release are carried out and followed by their supervisees. They also may recommend
revocation of supervision and the reimposition of a custodial sentence, in the event of violations. Although probation
officers perform these functions under the auspices of the Judiciary, the court must adhere to the line drawn by the
Supreme Court between the judicial function of rendering judgment and the executive one of enforcing it. See Benz,
282 U.S. at 311 (“The judicial power and the executive power over sentences are readily distinguishable. To render
judgment is a judicial function. To carry the judgment into effect is an executive function.”).


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the interpretation is reasonable. Id. That approach is consistent with the D.C. Circuit’s admonition

that the clemency process must be “free of judicial control,” Yelvington, 211 F.2d at 644, and the

presumption of regularity that attaches to executive orders, see Am. Fed’n of Gov’t Emps., AFL-

CIO v. Reagan, 870 F.2d 723, 727 (D.C. Cir. 1989). Ultimately, the court’s interpretive task is

neither to “enlarge nor cabin the commutation order.” Andrews, 958 F.3d at 1078.

        The court finds that the Department of Justice’s reading of the Proclamation as both

reducing Defendants’ custodial sentences and doing away with their terms of supervised release is

reasonable.   The Proclamation states that President Trump “commutes[s] the sentences [of

Defendants] to time served as of January 20, 2025.” See supra n.1 (emphasis added). “A criminal

sentence is a package of sanctions that the district court utilizes to effectuate its sentencing intent.”

Pepper v. United States, 562 U.S. 476, 507 (2011) (quoting United States v. Stinson, 97 F.3d 466,

469 (11th Cir. 1996)). It includes “all sanctions imposed for a crime,” including “imprisonment,

supervised release, and fines.” Andrews, 958 F.3d at 1080 (citations omitted); see also United

States v. Haymond, 588 U.S. 634, 648 (2019) (“acknowledg[ing] that an accused’s final sentence

includes any supervised release sentence he may receive” following a violation of terms). The

court must presume that the President understood this established meaning of “sentence,” and that

he “[spoke] in terminology that subordinate officials would understand.” Andrews, 958 F.3d at

1081. The Department of Justice’s understanding that the Proclamation reaches the supervised

release component of Defendants’ sentences is thus reasonable.

        The Department’s reading is further supported by the fact that President Trump’s

commutation order is unconditional. See Dennis, 927 F.3d at 958 (recognizing the possibility of

“unconditional commutations”). Defendants are required to take no further action to receive its

benefit. An unconditional commutation stands in contrast to recent clemency practices. Presidents




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have been explicit when they intend to commute only the custodial portion of a sentence but not

the term of supervised release. President Trump did so during his first term. See, e.g., Rosemond,

92 F.4th at 531 (citing example of President Trump’s commutation of Alice Marie Johnson,

“leav[ing] intact and in effect the five-year term of supervised release” (alteration in original));

United States v. Harder, 552 F. Supp. 3d 1144, 1150 (D. Or. 2021) (same). So, too, did President

Obama. See, e.g., Andrews, 958 F.3d at 1075. And President Biden did so most recently.

See Executive Grant of Clemency (Jan. 17, 2025) (commuting the sentences of hundreds of

individuals but leaving “intact and in effect the term of supervised release imposed by the court

with all its conditions and all other components of the sentence”). 7 The unconditional quality of

President Trump’s Proclamation thus can reasonably be read to extinguish enforcement of

Defendants’ terms of supervised release.

                                                          III.

           It is not for this court to divine why President Trump commuted Defendants’ sentences, or

to assess whether it was sensible to do so. See United Staes v. Rosemond, 10-cr-431 (LAK), 2024

WL 4043696, at *1 (S.D.N.Y. Sept. 4, 2024) (stating that “the judicial branch has no insight into

the reasoning behind the clemency decision, the motivations of the president, or the politics that

may be involved”). The court’s sole task is to determine the act’s effect.                              Insofar as the

U.S. Department of Justice seeks to “dismiss” Defendants’ supervised release terms, the request is

denied. The President’s act of clemency did not alter this court’s original sentences, which remain

“intact.”      The court, however, will vacate its Order of January 24, 2025, adding location

restrictions, ECF No. 940, because it would be improper for the court post-commutation to modify




7
    Available at https://www.justice.gov/pardon/media/1385601/dl?inline (last visited Jan. 26, 2025).


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the original sentences.   Further, by virtue of the President’s commutation order, the court

acknowledges that its conditions of supervision will not be enforced.

       Accordingly, the U.S. Department of Justice’s motion is granted in part and denied in part.

The court will not “dismiss” the non-custodial portion of Defendants’ sentences, but Defendants

are no longer bound by the judicially imposed conditions of supervised release.




                                                           Amit P. Mehta
Date: January 27, 2025                              United States District Judge




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